THE COURT.
This matter has been submitted on motion of respondent for an order dismissing the appeal or affirming the judgment; the motion being made pursuant to section 3 of rule V.
[1] The plaintiff's injuries were received by reason of an automobile collision caused by the negligence of defendant. The sole ground of appeal, as stated in the brief for appellant, is that under the evidence the plaintiff was guilty of contributory negligence as a matter of law. A brief inspection of the record, together with a reading of the few pages of testimony shown in the supplement to appellant's brief, is sufficient to show that there is evidence sufficient to sustain the finding of the trial court in favor of the plaintiff on said issue of contributory negligence.
The motion is granted and the judgment is affirmed. *Page 393 